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UNITED STATES BANKRUPTCY COURT
EASTERN DISTR_ICT OF CALIFORNIA

FRESNO DIVISION
ln re Case No. 05-13869-B-l3
Titus Alexandei' Gay and DC No. GCL-2
Susan Elizabeth Gay, DC No. MNE-3

Debtors.

 

FINDINGS OF FACT AND CONCLUSIONS OF LAW REGARDING
MOTIONS TO DISMISS CHAPTER 13 CASE

Geor e C. Lazar, Esq., of Fox Johns Lazar Pekin &_ Wexler, appeared telephonically on
beha t of Borrego Sp'rings Bank, National Association (the “Bank”).

M. Nelson Enniark, Esq., appeared in his capacity as the chapter 13 trustee (the
“Ti'ustee”).

Patrick Kavanagh, Es ., of the Law Offices of Patrick Kavanagh, appeared on behalf of
debtors, Titus Alexander and Susan Elizabeth Gay (the “Debtors”).

The Bank and the Trustee each brought motions to dismiss this chapter 13 case
based on unreasonably delay. The court has jurisdiction over this matter pursuant to 28
U.S.C. § 1334. This is a core proceeding as defined in 28 U.S.C. § 157(b)(2)(A). For the
reasons set forth beloW, the Bank’s and the Tiustee’s motions Will be granted.

Under ll U.S.C. § l307(c),l a chapter 13 case may be converted to a case under
chapter 7, or dismissed, whichever is in the best interest of the creditors, for cause. The
vstatute defines “cause” to include “unreasonable delay by the debtor that is prejudicial to

creditors.” § l307(c)(l). Neither the Bank, nor the Tnlstee, nor the Debtors have
requested conversion of this case to chapter 7, so the court Will limit its analysis to the

dismissal issue.

 

_ ‘Unless otherwise stated, all references and symbols referrin to the Code,
section or_ sections refers to the United States Bankru§tcy Code ll .S.C. § lOl, et
seq., applicable to cases filed before October l7, 200 .

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I-Iere, both the Trustee, and a secured creditor that holds a substantial arreage
claim, have moved for dismissal based on unreasonable delay. This is the Debtors’
second chapter 13 bankruptcy The first petition, case no. 05-12737, was filed on April 8,
2005, to stop the Bank from foreclosing its mortgage against the Debtors’ home. That
petition followed extensive workout efforts between the Debtors and the Bank and an
unsuccessful forbearance agreement . That case was dismissed on May 17, 2005, on the
court’s order to show cause because the Debtors failed to file a master address list, in
compliance with the coui't’s local rules. This case was filed on May 12, 2005, one day
after the hearing on the order to show cause, and five days before entry of the prior
dismissal order.

ln this case, the Debtors applied for additional time to file their documents,
including the chapter 13 plan. A first-modified chapter 13 plan was filed on June 3,
2005. Foi' reasons that are not clear from the record, the Trustee was not able to complete
the meeting of creditors until August 25, 2005. Objections to confirmation of the first-
modified chapter 13 plan were filed by the Trustee and others, including the Bank. Those
objections were sustained on October 5, 2005 .

Thereafter, nothing was done to get a plan confirmed for over two months, until
December 7, 2005, when the Debtors filed a motion to confirm another first-modified
chapter 13 plan, which was materially different from the June 3, 2005, first-modified
plan. That motion was denied for substantive and procedural reasons on January ll,
2006. On January 17, 2006, the Debtors filed a motion to confirm a second-modified
chapter 13 plan. The Trustee objected because that plan did not properly provide for
treatment of a substantial priority tax claim. That motion was purportedly to be heard on
Mai'ch 1, 2006, but the matter was not calendared because the Debtors had set it for
hearing at the wrong time. The clerk gave Debtors’ counsel notice of the calendaring
problem on February l, 2006. The problem was not corrected.

Thereafter, the Debtors again did nothing to get a plan confirmed for over two

more months. Finally, the Bank filed this motion to dismiss on Ma.rch 17, 2006. The

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Trustee filed his motion on March 20, 2006. Botli matters were noticed to the Debtors
and their counsel and set for hearing on April 5, 2006. One day before the hearing, the
Debtors filed a proposed third-modified plan and noticed a confirmation hearing on May
10, 2006. The court heard the dismissal motions, and the arguments of Debtors’ counsel,
and took those matters under submission.

By the date of the hearing, these Debtors had been in chapter 13 bankruptcy,
continuously through two proceedings, for almost one year. According to the Bank’s
proof of claim, the Bank had not received mortgage payments since prior to March 2004.
By the time the Debtors filed this bankruptcy petition, the Bank’s arrearage claim was
more than $25,000. The Debtors offer no explanation for their failure to make the
prepetition mortgage payments, neither do they offer a clear explanation for their failure,
or inability, to get a plan confirmed in this case. The court notes from the claims docket,
that the Debtors have also failed to pay the real property taxes on their home for a
substantial period of time, and they have other secured and unsecured creditors whose
rights are stayed by this bankruptcy.

Chapter 13 cases are intended to be expeditiously administered In re
Mz'chaelesco, 312 B.R. 466, 469 (Bankr. D.Conn. 2004). Frequent and extended delays in
the course of a chapter 13, coupled with the inability to confirm a plan of reorganization,
is grounds for dismissal. See Anderson v. U.S. on Behalf of Smal/ Bz¢siness Aa'mz`n. 165
B.R. 445 (S.D. Ind. 1994).

A chapter 13 bankruptcy is by its very nature “prejudicial to creditors” by virtue of
the protections it affords to the debtors, including the automatic stays under §§ 362 &
1301. When a chapter 13 case is not administered expeditiously, and the debtors either
can’t, or won’t get a plan confirmed to pay their creditors, that delay only adds to the
prejudice The delays in this case have been clearly prejudicial to the creditors. The
Debtors’ inability to get a plan confirmed on several occasions, and the long unexplained
gaps between confimiation attempts, lead to the conclusion that this chapter 13 case has

not been expeditiously administered The delay in this case is unreasonable Moreover,

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Debtors’ counsel’s efforts at the hearing to explain the delays did little to persuade the

court otherwise.

Conclusion.

Based on the foregoing, the Bank’s and Trustee’s motions will be GRANTED.

M

W. Richard Lee
United States Bankruptcy Judge

This case will be dismissed.

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

CERTIFICATE OF MAILING

The undersigned deputy clerk in the office of the United
States Bankruptcy Court for the Eastern District of California
hereby certifies that a copy of the document to which this
certificate is attached was mailed today to the following
entities listed at the address shown on the attached list or
shown below.

SEEATTACHED

DATED ; 4/13/06

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Office of the US Trustee George Lazar Patrick Kavanagh
2500 Tulare Street, Room 1401 525 B St #1500 1331 L St
Fresno, CA 93721 San Diego, CA 92101 Bakersfield, CA 931
Susan Gay Titus Gay 7 M. Enmark
9104 BROAD OAK AVE 9104 BROAD OAK AVE 3447 W Shaw Ave
BAKERSFIELD, CA 93313 BAKERSFIELD, CA 93313 Fresno, CA 93711

http://www.caeb.circ9.dcn/WebAddress/weblabels_print.asp?ckl=1 &ck2=2&ck3=3 &ck9 4/13/2006”

